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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

                                                            Civil Case No.:
 ALLSTAR MARKETING GROUP, LLC,                                                PAC
                                                            [PROPOSED]
 Plaintiff                                                1) TEMPORARY
                                                      RESTRAINING ORDER; 2)
 v.                                                    ORDER RESTRAINING
                                                     MERCHANT STOREFRONTS
 *WARM YOUR HOUSE* STORE, AA MARKET                  AND DEFENDANTS’ ASSETS
 STORE,    AB35     STORE,   AJ29   STORE,             WITH THE FINANCIAL
 ALHOME$GLODCISTERN                 STORE,          INSTITUTIONS; 3) ORDER TO
 ATTRACTION FOR YOU STORE, BALMY WIND                   SHOW CAUSE WHY A
 STORE,     BESTHOMEFURNITURE       STORE,          PRELIMINARY INJUNCTION
 BETTERHOUSE STORE, BTMETER OFFICIAL                   SHOULD NOT ISSUE; 4)
 STORE, CCCMART STORE, CHARACTERISTIC                  ORDER AUTHORIZING
 LIFE STORE, CHARLOTTET'S STORE, CITY OF                 BIFURCATED AND
 DAILY NECESSITIES STORE, CO TECH STORE,              ALTERNATIVE SERVICE;
 COMPUTER      OFFICE    OVERSEA    STORE,                 AND 5) ORDER
 CONVENIENT 666 STORE, DAILY COMFORT                 AUTHORIZING EXPEDITED
 LIVING STORE, DONGGUAN BLUE SHARK                          DISCOVERY
 TECHNOLOGY CO., LIMITED, DROPSHIPPING
 TO WHOLE WORLD STORE, DRY HOUSEWARE
 STORE, E2SHOPPING STORE, EMBELLISH NEW                  FILED UNDER SEAL
 LIFE STORE, FANHHUI STORE, FOR GOOD
 THINGS STORE, FOR YOUR B-ETTER LIFE
 STORE, FOREWAN DIYCRAFT STORE, FUNNY
 GIFTS STORE, GARDON STORE STORE,
 GLOBAL     3C    TECH    STORE,   GLOBAL
 PROFESSIONAL       TOOL    STORE,   GOOD
 LIFESTYLE STORE, HANGZHOU JUKINGS
 TECH CO., LTD., HIGH GRADE 3CMART STORE,
 HOMESERVICE STORE, HOMO DROPSHIP
 STORE,     HOUSE     GOODHAND      STORE,
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HOUSEHOLDTOOLS       GROCERIES    STORE,
HUIYU FACTORY STORE, I FOUND YOU
STORE, INFINITE VOICE STORE, INSTRUMENT
TECH STORE, JA JLAKDFALIYUN STORE,
JIANDE HUNLEE ELECTRICAL APPLIANCE
CO., LTD., KALAXHOME STORE, K-E-Y TO
YOUR H-E-A-R-TE STORE, LA FAVORITA
FLAGSHIP STORE, LBFAMILY STORE, LINHAI
ZHONGQI OPTO-ELECTRICAL TECHNOLOGY
CO.,   LTD.,   LITTLE   EXPERT    STORE,
LOVELYPUPPY STORE, LUCKLY HOUSE
STORE, LUMIPARTY FACTORY STORE,
LUMIPARTY OFFICIAL STORE, MAGICIAN 3C
STORE, MAY RECORDS STORE, MOONLIGHT
DROPSHIPPING STORE, MYRIANN OFFICIAL
STORE, NO. 19 MASK STORE, ONETREE STORE,
PROFESSIONAL TOOL CENTER STORE,
ROMANTIC ALL HOUSE STORE, ROMANTIC
FULL IN HOME, SAFE LIFE STORE, SECURITY
PROTECT ONLINE STORE, SHANMAMMY
DROPSHIP     STORE,   SHENZHEN    CLICKS
TECHNOLOGY CO., LTD., SHOP1266133 STORE,
SHOP4917095 STORE, SHOP5250048 STORE,
SHOP5440035 STORE, SHOP5522046 STORE,
SHOP5788919 STORE, SHOP910453068 STORE,
SIX STARS PRODUCTS STORE, SMARTLIVES
STORE, SNEWVIE LED LIGHTING YOUR LIFE
STORE, SURPRISE LIFE STORE, SWOVO
DIYCRAFT STORE, SZWKY HOUSEHOLDS
STORE, TOOLS DIRECT STORE, TOP1 PHONE
STORE, TOPLEO STORE, TRENDY CASUAL
CLOTHINGS STORE, TT PINK LIFE STORE,
TTMART STORE, WELCOME OVERSEA STORE,
WORTH WATCHING STORE, YIDIAN OF GRASS
STORE. YOCOMYLY 511511 STORE, YOUR
DAILY 3CMART STORE, YOUR HAPPINESS
HOUSE STORE and YOYOHOME STORE,

Defendants
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                             GLOSSARY

Term                   Definition
Plaintiff or Allstar   Allstar Marketing Group, LLC
Defendants             *Warm Your House* Store, AA MARKET Store,
                       AB35 Store, AJ29 Store, ALHOME$GLODCISTERN
                       Store, Attraction For You Store, Balmy Wind Store,
                       BestHomefurniture      Store,   Betterhouse     Store,
                       BTMETER Official Store, CCCMart Store,
                       Characteristic Life Store, CharlotteT's Store, City of
                       Daily Necessities Store, CO Tech Store, Computer
                       Office Oversea Store, Convenient 666 Store, Daily
                       Comfort Living Store, Dongguan Blue Shark
                       Technology Co., Limited, DropShipping To Whole
                       World Store, Dry Houseware Store, e2shopping Store,
                       Embellish New Life Store, FANHHUI Store, For good
                       things Store, For Your B-etter Life Store, ForeWan
                       DiyCraft Store, Funny Gifts Store, Gardon store Store,
                       Global 3C Tech Store, Global Professional Tool Store,
                       Good Lifestyle Store, Hangzhou Jukings Tech Co.,
                       LTD., High Grade 3CMart Store, HomeService Store,
                       HOMO dropship Store, House Goodhand Store,
                       HouseholdTools groceries Store, HUIYU Factory
                       Store, i found you Store, Infinite Voice Store,
                       Instrument Tech Store, JA jlakdfaliyun Store, Jiande
                       Hunlee Electrical Appliance Co., Ltd., kalaxhome
                       Store, K-e-y to your h-e-a-r-te Store, La Favorita
                       Flagship Store, LBFamily Store, Linhai Zhongqi Opto-
                       Electrical Technology Co., Ltd., Little expert Store,
                       Lovelypuppy Store, Luckly House Store, LumiParty
                       Factory Store, LumiParty Official Store, Magician 3c
                       Store, May Records Store, Moonlight Dropshipping
                       Store, MYRIANN Official Store, No. 19 Mask Store,
                       OneTree Store, Professional Tool Center Store,
                       Romantic All House Store, Romantic full in Home,
                       Safe Life Store, Security Protect Online Store,
                       Shanmammy dropship Store, Shenzhen Clicks
                       Technology Co., Ltd., Shop1266133 Store,
                       Shop4917095        Store,     Shop5250048       Store,
                       Shop5440035        Store,     Shop5522046       Store,
                       Shop5788919 Store, Shop910453068 Store, Six Stars
                       Products Store, Smartlives Store, SNEWVIE LED
                       Lighting Your Life Store, Surprise Life Store, Swovo
                       DIYCraft Store, Szwky Households Store, Tools Direct
                       Store, Top1 Phone Store, Topleo Store, trendy casual
                       clothings Store, TT Pink Life Store, TTMart Store,
                       Welcome Oversea Store, Worth Watching Store,
                       YIDIAN OF GRASS Store. YOCOMYLY 511511
                       Store, Your Daily 3CMart Store, Your Happiness

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                       House Store and YOYOHOME Store
Alibaba                Alibaba.com, an online marketplace platform that
                       allows manufacturers, wholesalers and other third-
                       party merchants, like Defendants, to advertise, offer for
                       sale, sell, distribute and ship their wholesale and retail
                       products originating from China directly to consumers
                       across the world and specifically to consumers residing
                       in the U.S., including New York
AliExpress             Aliexpress.com, an online marketplace platform that
                       allows manufacturers, wholesalers and other third-
                       party merchants, like Defendants, to advertise, offer for
                       sale, sell, distribute and ship their wholesale and retail
                       products originating from China directly to consumers
                       across the world and specifically to consumers residing
                       in the U.S., including New York
Epstein Drangel        Epstein Drangel LLP, counsel for Plaintiff
New York Address       244 Madison Ave, Suite 411, New York, New York
                       10016
Complaint              Plaintiff’s Complaint filed on October 8, 2020
Application            Plaintiff’s Ex Parte Application for: 1) a temporary
                       restraining order; 2) an order restraining Merchant
                       Storefronts (as defined infra) and Defendants’ Assets
                       (as defined infra) with the Financial Institutions (as
                       defined infra); 3) an order to show cause why a
                       preliminary injunction should not issue; 4) an order
                       authorizing bifurcated and alternative service and 5) an
                       order authorizing expedited discovery filed on October
                       8, 2020
De Marco Dec.          Declaration of Jennifer De Marco in Support of
                       Plaintiff’s Application
Yamali Dec.            Declaration of Danielle S. Yamali in Support of
                       Plaintiff’s Application
Socket Shelf Mark      U.S. Trademark Registration No. 6,153,908 for
                       “SOCKET SHELF” for electronic docking station and
                       charging station for electronic devices in Class 9
Socket Shelf Works     U.S. Copyright Reg. Nos.: PAu 4-030-375 covering the
                       Socket Shelf Commercial, VAu 1-365-330 covering the
                       Socket Shelf Deluxe Packaging, VAu 1-402-004
                       covering the Socket Shelf Instruction Manual, VAu 1-
                       347-375 covering the Socket Shelf Packaging, VA 2-
                       135-992 covering the Socket Shelf Website and VAu 1-
                       365-333 covering the Socket Shelf Packaging
Socket Shelf Product   A unique surge protector device that provides six (6)
                       power outlets and adds two (2) USB charging stations
                       and a shelf to most three-prong outlets
Counterfeit Products   Products bearing or used in connection with the Socket
                       Shelf Mark and/or Socket Shelf Works, and/or products
                       in packaging and/or containing labels and/or hang tags
                       bearing the Socket Shelf Mark and/or Socket Shelf
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                         Works, and/or bearing or used in connection with
                         marks and/or artwork that are confusingly or
                         substantially similar to the Socket Shelf Mark and/or
                         Socket Shelf Works and/or products that are identical
                         or confusingly or substantially similar to the Socket
                         Shelf Product
Infringing Listings      Defendants’ listings for Counterfeit Products
User Accounts            Any and all websites and any and all accounts with
                         online marketplace platforms such as Alibaba,
                         AliExpress, as well as any and all as yet undiscovered
                         accounts with additional online marketplace platforms
                         held by or associated with Defendants, their respective
                         officers, employees, agents, servants and all persons in
                         active concert or participation with any of them
Merchant Storefronts     Any and all User Accounts through which Defendants,
                         their respective officers, employees, agents, servants
                         and all persons in active concert or participation with
                         any of them operate storefronts to manufacture, import,
                         export, advertise, market, promote, distribute, display,
                         offer for sale, sell and/or otherwise deal in Counterfeit
                         Products, which are held by or associated with
                         Defendants, their respective officers, employees,
                         agents, servants and all persons in active concert or
                         participation with any of them
Defendants’ Assets       Any and all money, securities or other property or
                         assets of Defendants (whether said assets are located in
                         the U.S. or abroad)
Defendants’ Financial    Any and all financial accounts associated with or
Accounts                 utilized by any Defendants or any Defendants’ User
                         Accounts or Merchant Storefront(s) (whether said
                         account is located in the U.S. or abroad)
Financial Institutions   Any banks, financial institutions, credit card companies
                         and payment processing agencies, such as PayPal Inc.
                         (“PayPal”), Payoneer Inc. (“Payoneer”), the Alibaba
                         Group d/b/a Alibaba.com payment services (e.g.,
                         Alipay.com Co., Ltd., Ant Financial Services Group),
                         PingPong Global Solutions, Inc. (“PingPong”) and
                         other companies or agencies that engage in the
                         processing or transfer of money and/or real or personal
                         property of Defendants
Third Party Service      Online marketplace platforms, including, without
Providers                limitation, those owned and operated, directly or
                         indirectly by Alibaba, AliExpress, as well as any and
                         all as yet undiscovered online marketplace platforms
                         and/or entities through which Defendants, their
                         respective officers, employees, agents, servants and all
                         persons in active concert or participation with any of
                         them manufacture, import, export, advertise, market,
                         promote, distribute, offer for sale, sell and/or otherwise
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                   deal in Counterfeit Products which are hereinafter
                   identified as a result of any order entered in this action,
                   or otherwise




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        On this day, the Court considered Plaintiff’s ex parte application for the following: 1) a

temporary restraining order; 2) an order restraining Merchant Storefronts and Defendants’ Assets

with the Financial Institutions; 3) an order to show cause why a preliminary injunction should not

issue; 4) an order authorizing bifurcated and alternative service and 5) an order authorizing

expedited discovery against Defendants, Third Party Service Providers and Financial Institutions

in light of Defendants’ intentional and willful offerings for sale and/or sales of Counterfeit

Products. 1 A complete list of Defendants is attached hereto as Schedule A, which also includes links

to Defendants’ Merchant Storefronts and Infringing Listings. Having reviewed the Application,

Declarations of Jennifer De Marco and Danielle S. Yamali, along with exhibits attached thereto

and other evidence submitted in support thereof, the Court makes the following findings of fact

and conclusions of law:

                       FACTUAL FINDINGS & CONCLUSIONS OF LAW

        1.       Plaintiff is a leading developer, producer, marketer, and distributor of quality,

innovative consumer products that Plaintiff promotes and sells throughout the United States and

the world through major retailers and well-known mass retail outlets, including, but not limited to:

Wal-Mart, Target and Bed Bath & Beyond, as well as through its retail customers’ websites and a

network of international distributors, among other channels of trade.

        2.       One of Plaintiff’s most popular and successful products is Socket Shelf, a unique

surge protector device that provides six (6) power outlets and adds two (2) USB charging stations and

a shelf to most three-prong outlets.




1
 Where a defined term is referenced herein and not defined herein, the defined term should be understood as it is
defined in the Complaint, Application or Glossary.
                                                       1
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        3.      While Plaintiff has gained significant common law trademark and other rights in

its Socket Shelf, through use, advertising and promotion, Plaintiff has also protected its valuable

rights by filing for and obtaining a federal trademark registration.

        4.      For example, Plaintiff owns the Socket Shelf Mark, including U.S. Trademark

Registration 6,153,908 for “SOCKET SHELF” for electronic docking station and charging station

for electronic devices in Class 9.

        5.      The Socket Shelf Mark is currently in use in commerce in connection with the

Socket Shelf Product.

        6.      In addition, Plaintiff also owns the registered copyrights related to the Socket Shelf

Product. For example, Plaintiff owns the Socket Shelf Works, including U.S. Copyright Reg. Nos.:

PAu 4-030-375 covering the Socket Shelf Commercial, VAu 1-365-330 covering the Socket Shelf

Deluxe Packaging, VAu 1-402-004 covering the Socket Shelf Instruction Manual, VAu 1-347-375

covering the Socket Shelf Packaging, VA 2-135-992 covering the Socket Shelf Website and VAu 1-

365-333 covering the Socket Shelf Packaging.

        7.      Defendants are manufacturing, importing, exporting, advertising, marketing,

promoting, distributing, displaying, offering for sale or Counterfeit Product through Defendants’

User Accounts and Merchant Storefronts with Alibaba and AliExpress (see Schedule A for links

to Defendants’ Merchant Storefronts and Infringing Listings);

        8.      Alibaba and AliExpress are online marketplace and e-commerce platforms that

allow manufacturers and other third-party merchants, like Defendants, to advertise, distribute,

offer for sale and/or sell in what it characterizes as either auction-style or fixed-price formats and

ship their retail products originating from China, among other locations, directly to consumers

worldwide and specifically to consumers residing in the U.S., including New York;

        9.      Defendants are not, nor have they ever been, authorized distributors or licensees of

the Socket Shelf Product.       Neither Plaintiff, nor any of Plaintiff’s authorized agents, have

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consented to Defendants’ use of the Socket Shelf Works and/or Socket Shelf Mark, nor has

Plaintiff consented to Defendants’ use of marks and/or artwork that are confusingly and/or

substantially similar to, identical to and constitute a counterfeiting or infringement of the Socket

Shelf Works and/or Socket Shelf Mark;

        10.        Plaintiff is likely to prevail on its Lanham Act, copyright and related common law

claims at trial;

        11.        As a result of Defendants’ infringements, Plaintiff, as well as consumers, are likely

to suffer immediate and irreparable losses, damages and injuries before Defendants can be heard

in opposition, unless Plaintiff’s Application for ex parte relief is granted:

          a. Defendants have offered for sale and sold substandard Counterfeit Products that

              infringe the Socket Shelf Works and/or Socket Shelf Mark;

          b. Plaintiff has well-founded fears that more Counterfeit Products will appear in the

              marketplace; that consumers may be misled, confused and disappointed by the quality

              of these Counterfeit Products, resulting in injury to Plaintiff’s reputation and

              goodwill; and that Plaintiff may suffer loss of sales for its Socket Shelf Product; and

          c. Plaintiff has well-founded fears that if it proceeds on notice to Defendants on this

              Application, Defendants will: (i) secret, conceal, destroy, alter, sell-off, transfer or

              otherwise dispose of or deal with Counterfeit Products or other goods that infringe

              the Socket Shelf Works and/or Socket Shelf Mark, the means of obtaining or

              manufacturing such Counterfeit Products, and records relating thereto that are in their

              possession or under their control, (ii) inform their suppliers and others of Plaintiff’s

              claims with the result being that those suppliers and others may also secret, conceal,

              sell-off or otherwise dispose of Counterfeit Products or other goods infringing the

              Socket Shelf Works and/or Socket Shelf Mark, the means of obtaining or

              manufacturing such Counterfeit Products, and records relating thereto that are in their

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             possession or under their control, (iii) secret, conceal, transfer or otherwise dispose

             of their ill-gotten proceeds from its sales of Counterfeit Products or other goods

             infringing the Socket Shelf Works and/or Socket Shelf Mark and records relating

             thereto that are in their possession or under their control and/or (iv) open new User

             Accounts and Merchant Storefront under new or different names and continue to offer

             for sale and sell Counterfeit Products with little to no consequence;

       12.     The balance of potential harm to Defendants of being prevented from continuing to

profit from their illegal and infringing activities if a temporary restraining order is issued is far

outweighed by the potential harm to Plaintiff, its business, the goodwill and reputation built up in

and associated with the Socket Shelf Works and/or Socket Shelf Mark and to its reputations if a

temporary restraining order is not issued;

       13.     Public interest favors issuance of the temporary restraining order in order to protect

Plaintiff’s interests in and to its Socket Shelf Works and/or Socket Shelf Mark, and to protect the

public from being deceived and defrauded by Defendants’ passing off of their substandard

Counterfeit Products as Socket Shelf Product;

       14.     Plaintiff has not publicized its request for a temporary restraining order in any way;

       15.     Service on Defendants via electronic means is reasonably calculated to result in

proper notice to Defendants.

       16.     If Defendants are given notice of the Application, they are likely to secret, conceal,

transfer or otherwise dispose of their ill-gotten proceeds from their sales of Counterfeit Products

or other goods infringing the Socket Shelf Works and/or Socket Shelf Mark. Therefore, good

cause exists for granting Plaintiff’s request for an asset restraining order. It typically takes the

Financial Institutions a minimum of five (5) days after service of the Order to locate, attach and

freeze Defendants’ Assets and/or Defendants’ Financial Accounts and it is anticipated that it will

take the Third Party Service Providers a minimum of five (5) days to freeze Defendants’ Merchant

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Storefronts. As such, the Court allows enough time for Plaintiff to serve the Financial Institutions

and Third Party Service Providers with this Order, and for the Financial Institutions and Third

Party Service Providers to comply with the Paragraphs I(B)(1) through I(B)(2) and I(C)(1) of this

Order, respectively, before requiring service on Defendants.

        17.      Similarly, if Defendants are given notice of the Application, they are likely to

destroy, move, hide or otherwise make inaccessible to Plaintiff the records and documents relating

to Defendants’ manufacturing, importing, exporting, advertising, marketing, promoting,

distributing, displaying, offering for sale and/or sale of Counterfeit Products. Therefore Plaintiff

has good cause to be granted expedited discovery.


                                               ORDER
        Based on the foregoing findings of fact and conclusions of law, Plaintiff’s Application is

hereby GRANTED as follows:

                                   I.   Temporary Restraining Order
A. IT IS HEREBY ORDERED, as sufficient cause has been shown, that Defendants are hereby
                                                                                              ten (10)
   restrained and enjoined from engaging in any of the following acts or omissions for fourteen

   (14) days from the date of this order, and for such further period as may be provided by order

   of the Court:

   1)         manufacturing, importing, exporting, advertising, marketing, promoting, distributing,

              displaying, offering for sale, selling and/or otherwise dealing in Counterfeit Products,

              or any other products bearing the Socket Shelf Works and/or Socket Shelf Mark and/or

              marks and/or artwork that are confusingly and/or substantially similar to, identical to

              and constitute a counterfeiting or infringement of the Socket Shelf Works and/or Socket

              Shelf Mark;

   2)         directly or indirectly infringing in any manner Plaintiff’s Socket Shelf Works and/or

              Socket Shelf Mark;
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3)    using any reproduction, counterfeit, copy or colorable imitation of Plaintiff’s Socket

      Shelf Works and Socket Shelf Mark, to identify any goods or service not authorized by

      Plaintiff;

4)    using Plaintiff’s Socket Shelf Works and/or Socket Shelf Mark and/or any other marks

      that are confusingly similar to the Socket Shelf Marks and/or any other artwork that is

      substantially similar to the Socket Shelf Works, on or in connection with Defendants’

      manufacturing, importing, exporting, advertising, marketing, promoting, distributing,

      offering for sale, selling and/or otherwise dealing in Counterfeit Products;

5)    using any false designation of origin or false description, or engaging in any action

      which is likely to cause confusion, cause mistake and/or to deceive members of the

      trade and/or the public as to the affiliation, connection or association of any product

      manufactured, imported, exported, advertised, marketed, promoted, distributed,

      displayed, offered for sale or sold by Defendants with Plaintiff, and/or as to the origin,

      sponsorship or approval of any product manufactured, imported, exported, advertised,

      marketed, promoted, distributed, displayed, offered for sale or sold by Defendants and

      Defendants’ commercial activities and Plaintiff;

6)    secreting, concealing, destroying, altering, selling off, transferring or otherwise

      disposing of and/or dealing with: (i) Counterfeit Products and/or (ii) any computer files,

      data, business records, documents or any other records or evidence relating to their

      User Accounts, Merchant Storefronts or Defendants’ Assets and the manufacture,

      importation, exportation, advertising, marketing, promotion, distribution, display,

      offering for sale and/or sale of Counterfeit Products;

7)    effecting assignments or transfers, forming new entities or associations, or creating

      and/or utilizing any other platform, User Account, Merchant Storefront or any other

      means of importation, exportation, advertising, marketing, promotion, distribution,

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              display, offering for sale and/or sale of Counterfeit Products for the purposes of

              circumventing or otherwise avoiding the prohibitions set forth in this Order; and

   8)         knowingly instructing any other person or business entity to engage in any of the

              activities referred to in subparagraphs I(A)(1) through I(A)(7) above and I(B)(1)

              through I(B)(2) and I(C)(1) below.

B. IT IS HEREBY ORDERED, as sufficient cause has been shown, that the Third Party Service

Providers and Financial Institutions are hereby restrained and enjoined from engaging in any of
                                        ten (10)
the following acts or omissions for fourteen (14) days from the date of this order, and for such

further period as may be provided by order of this Court:

   1) secreting, concealing, transferring, disposing of, withdrawing, encumbering or paying

        Defendants’ Assets from or to Defendants’ Financial Accounts until further ordered by this

        Court;

   2) secreting, concealing, destroying, altering, selling off, transferring or otherwise disposing

        of and/or dealing with any computer files, data, business records, documents or any other

        records or evidence relating to Defendants’ Assets and Defendants’ Financial Accounts;

        and

   3) knowingly instructing, aiding or abetting any person or business entity in engaging in any

        of the activities referred to in subparagraphs I(A)(I) through I(A)(7) and I(B)(1) through

        I(B)(2) above and I(C)(1) below.

C. IT IS HEREBY ORDERED, as sufficient cause has been shown, that the Third Party Service

Providers are hereby restrained and enjoined from engaging in any of the following acts or
                 ten (10)
omissions for fourteen (14) days from the date of this order, and for such further period as may be

provided by order of this Court:

   1) within five (5) days after receipt of service of this Order, providing services to Defendants,

        Defendants’ User Accounts and Defendants’ Merchant Storefronts, including, without

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      Thursday, October 15, 2020 @ 5PM.
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   of receipt of service of this Order, the Financial Institutions shall locate and attach Defendants’

   Financial Accounts and shall provide written confirmation of such attachment to Plaintiff’s

   counsel.


    IV.       Order Authorizing Bifurcated and Alternative Service by Electronic Means
A. IT IS FURTHER ORDERED pursuant to Fed. R. Civ. P. 4(f)(3), as sufficient cause has been

   shown, that service may be made on, and shall be deemed effective as to Defendants if it is

   completed by the following means:

   1)      delivery of: (i) PDF copies of this Order together with the Summons and Complaint, or

           (ii) a link to a secure website (including NutStore, a large mail link created through

           Rmail.com and via website publication through a specific page dedicated to this

           Lawsuit accessible through ipcounselorslawsuit.com) where each Defendant will be

           able to download PDF copies of this Order together with the Summons and Complaint,

           and all papers filed in support of Plaintiff’s Application seeking this Order to

           Defendants’ e-mail addresses to be determined after having been identified in Schedule

           A or may otherwise be determined; or

   2)      delivery of a message to Defendants through the same means that Plaintiff’s agents

           have previously communicated with Defendants, namely the system for

           communications established by the Third Party Service Providers on their respective

           platforms, notifying Defendants that an action has been filed against them in this Court

           and providing a link to a secure website (such as NutStore or a large mail link created

           through Rmail.com) where each Defendant will be able to download PDF copies of

           this Order together with the Summons and Complaint, and all papers filed in support

           of Plaintiff’s Application seeking this Order.




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B. IT IS FURTHER ORDERED, as sufficient cause has been shown, that such alternative service

   by electronic means ordered herein shall be deemed effective as to Defendants, Third Party

   Service Providers and Financial Institutions through the pendency of this action.

C. IT IS FURTHER ORDERED, as sufficient cause has been shown, that such alternative service

   by electronic means ordered herein shall be made within five (5) days of the Financial

   Institutions and Third Party Service Providers’ compliance with Paragraphs III(A) and V(C)

   of this Order.

D. IT IS FURTHER ORDERED, as sufficient cause has been shown, that the Clerk of the Court

   shall issue a single original summons directed to all Defendants as listed in an attachment to

   the summons that will apply to all Defendants.

E. IT IS FURTHER ORDERED, as sufficient cause has been shown, that service may be made

   and shall be deemed effective as to the following if it is completed by the below means:

   1) delivery of: (i) a PDF copy of this Order, or (ii) a link to a secure website where PayPal

      Inc. will be able to download a PDF copy of this Order via electronic mail to EE Omaha

      Legal Specialist at EEOMALegalSpecialist@paypal.com;

   2) delivery of: (i) a PDF copy of this Order, or (ii) a link to a secure website where AliPay.com

      Co., Ltd., Ant Financial Services will be able to download a PDF copy of this Order via

      electronic mail Mr. Di Zhang, Member of the Legal & Compliance Department – IP, at

      di.zd@alipay.com;

   3) delivery of: (i) a PDF copy of this Order, or (ii) a link to a secure website where Alibaba

      will be able to download a PDF copy of this Order via electronic mail to Ms. Rachel Wang,

      Legal Counsel, Alibaba Group at rachel.wy@alibaba-inc.com and Ms. Yujuan He,

      Paralegal, Alibaba Group at chloe.he@alibaba-inc.com;

   4) delivery of: (i) a PDF copy of this Order, or (ii) a link to a secure website where Payoneer

      Inc. will be able to download a PDF copy of this Order via electronic mail to Payoneer

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      Inc.’s Customer Service Management at customerservicemanager@payoneer.com and

      Edward Tulin, counsel for Payoneer Inc., at Edward.Tulin@skadden.com; and

   5) delivery of: (i) a PDF copy of this Order, or (ii) a link to a secure website where PingPong

      Global Solutions Inc. will be able to download a PDF copy of this Order via electronic mail

      to Zeng Ni of PingPong Global Solutions Inc.’s Legal Department legal@pingpongx.com.

                          V.   Order Authorizing Expedited Discovery
A. IT IS FURTHER ORDERED, as sufficient cause has been shown, that:
               ten (10) days
   1) Within fourteen (14) days after receiving service of this Order, each Defendant shall serve

      upon Plaintiff’s counsel a written report under oath providing:

          a. their true name and physical address;

          b. the name and location and URL of any and all websites that Defendants own and/or

              operate and the name, location, account numbers and URL for any and all User

              Accounts and Merchant Storefronts on any Third Party Service Provider platform

              that Defendants own and/or operate;

          c. the complete sales records for any and all sales of Counterfeit Products, including

              but not limited to number of units sold, the price per unit, total gross revenues

              received (in U.S. dollars) and the dates thereof;

          d. the account details for any and all of Defendants’ Financial Accounts, including,

              but not limited to, the account numbers and current account balances; and

          e. the steps taken by each Defendant, or other person served to comply with Section

              I, above.

   2) Plaintiff may serve interrogatories pursuant to Rules 26 and 33 of the Federal Rules of

      Civil Procedure as well as Local Civil Rule 33.3 of the Local Rules for the Southern and

      Eastern Districts of New York and Defendants who are served with this Order shall provide



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                                                                    ten (10)
        written responses under oath to such interrogatories within fourteen (14) days of service to

        Plaintiff’s counsel.

   3) Plaintiff may serve requests for the production of documents pursuant to Fed. R. Civ. P. 26

        and 34, and Defendants who are served with this Order and the requests for the production
                                                                                       ten (10)
        of documents shall produce all documents responsive to such requests within fourteen (14)

        days of service to Plaintiff’s counsel.

B. IT IS FURTHER ORDERED, as sufficient cause has been shown, that within five (5) days of

   receipt of service of this Order the Financial Institutions shall identify any and all of

   Defendants’ Financial Accounts, and provide Plaintiff’s counsel with a summary report

   containing account details for any and all such accounts, which shall include, at a minimum,

   identifying information for Defendants, including contact information for Defendants

   (including, but not limited to, mailing addresses and e-mail addresses), account numbers and

   account balances for any and all of Defendants’ Financial Accounts and confirmation of said

   compliance with this Order.

C. IT IS FURTHER ORDERED, as sufficient cause has been shown, that within five (5) days of

   receipt of service of this Order, the Third Party Service Providers shall identify any and all of

   Defendants’ User Accounts and Merchant Storefronts, and provide Plaintiff’s counsel with a

   summary report containing account details for any and all User Accounts and Merchant

   Storefronts, which shall include, at a minimum, identifying information for Defendants and

   Defendants’ User Accounts and Defendants’ Merchant Storefronts, contact information for

   Defendants (including, but not limited to, mailing addresses and e-mail addresses) and

   confirmation of said compliance with this Order.

D. IT IS FURTHER ORDERED, as sufficient cause has been shown, that:
                     ten (10)
   1)      Within fourteen (14) days of receiving actual notice of this Order, all Financial

           Institutions who are served with this Order shall provide Plaintiff’s counsel all

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          documents and records in their possession, custody or control (whether located in the

          U.S. or abroad) relating to any and all of Defendants’ Financial Accounts, including,

          but not limited to, documents and records relating to:

          a. account numbers;

          b. current account balances;

          c. any and all identifying information for Defendants, Defendants’ User Accounts and

             Defendants’ Merchant Storefronts, including, but not limited to, names, addresses

             and contact information;

          d. any and all account opening documents and records, including, but not limited to,

             account applications, signature cards, identification documents and if a business

             entity, any and all business documents provided for the opening of each and every

             of Defendants’ Financial Accounts;

          e. any and all deposits and withdrawals during the previous year from each and every

             one of Defendants’ Financial Accounts and any and all supporting documentation,

             including, but not limited to, deposit slips, withdrawal slips, cancelled checks and

             account statements; and

          f. any and all wire transfers into each and every one of Defendants’ Financial

             Accounts during the previous year, including, but not limited to, documents

             sufficient to show the identity of the destination of the transferred funds, the identity

             of the beneficiary’s bank and the beneficiary’s account number.

E. IT IS FURTHER ORDERED, as sufficient cause has been shown, that:
                  ten (10)
   1)     Within fourteen (14) days of receipt of service of this Order, the Third Party Service

          Providers shall provide to Plaintiff’s counsel all documents and records in its

          possession, custody or control (whether located in the U.S. or abroad) relating to



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 Defendants’ User Accounts and Defendants’ Merchant Storefronts, including, but not

 limited to, documents and records relating to:

 a. any and all User Accounts and Defendants’ Merchant Storefronts and account

    details, including, without limitation, identifying information and account numbers

    for any and all User Accounts and Defendants’ Merchant Storefronts that

    Defendants have ever had and/or currently maintain with the Third Party Service

    Providers that were not previously provided pursuant to Paragraph V(C);

 b. the identities, location and contact information, including any and all e-mail

    addresses of Defendants that were not previously provided pursuant to Paragraph

    V(C);

 c. the nature of Defendants’ businesses and operations, methods of payment, methods

    for accepting payment and any and all financial information, including, but not

    limited to, information associated with Defendants’ User Accounts and

    Defendants’ Merchant Storefronts, a full accounting of Defendants’ sales history

    and listing history under such accounts and Defendants’ Financial Accounts with

    any and all Financial Institutions associated with Defendants’ User Accounts and

    Defendants’ Merchant Storefronts; and

 d. Defendants’ manufacturing, importing, exporting, advertising, marketing,

    promoting, distributing, displaying, offering for sale and/or selling of Counterfeit

    Products, or any other products bearing the Socket Shelf Mark and/or Socket Shelf

    Works and/or marks and/or artwork that are confusingly and/or substantially

    similar to, identical to and constitute an infringement of the Socket Shelf Mark

    and/or Socket Shelf Works.




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                                     VI.     Security Bond

                                                                              One Hundred Thousand
A. IT IS FURTHER ORDERED that Plaintiff shall place security in the amount of __________

   Dollars (__________)
             $100,000   with the Court which amount is determined adequate for the payment

   of any damages any person may be entitled to recover as a result of an improper or wrongful

   restraint ordered hereunder.

                                    VII.     Sealing Order

A. IT IS FURTHER ORDERED that Plaintiff’s Complaint and exhibits attached thereto, and

   Plaintiff’s ex parte Application and the Declarations of Jennifer De Marco and Danielle S.

   Yamali in support thereof and exhibits attached thereto and this Order shall remain sealed until

   the Financial Institutions and Third Party Service Providers comply with Paragraphs I(B)-

   (C), III(A) and V(C) of this Order.



SO ORDERED.

                           October                1 PM
SIGNED this _____
             9    day of ____________, 2020, at _______ __.m.
                                                                               PART I
                                                          ________________________________
                                                          UNITED STATES DISTRICT JUDGE




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                                                                                             SCHEDULE A
No.   Defendant                                             Infringing Listing                                                                              Merchant Storefront
  1   *Warm Your House* Store                               https://www.aliexpress.com/item/4001050591351.html                                              https://www.aliexpress.com/store/4380069
  2   AA MARKET Store                                       https://www.aliexpress.com/item/1005001393184241.html                                           https://www.aliexpress.com/store/900248261
  3   AB35 Store                                            https://www.aliexpress.com/item/4001264094729.html                                              https://www.aliexpress.com/store/5882817
  4   AJ29 Store                                            https://www.aliexpress.com/item/4000964704810.html                                              https://www.aliexpress.com/store/5782181
  5   ALHOME$GLODCISTERN Store                              https://www.aliexpress.com/item/4000336936062.html                                              https://www.aliexpress.com/store/2628006
  6   Attraction For You Store                              https://www.aliexpress.com/item/4000335553685.html                                              https://www.aliexpress.com/store/3099024
  7   Balmy Wind Store                                      https://www.aliexpress.com/item/4000402313126.html                                              https://www.aliexpress.com/store/4567040
  8   BestHomefurniture Store                               https://www.aliexpress.com/item/1005001393117155.html                                           https://www.aliexpress.com/store/5891269
  9   Betterhouse Store                                     https://www.aliexpress.com/item/4000439748366.html                                              https://www.aliexpress.com/store/5364054
 10   BTMETER Official Store                                https://www.aliexpress.com/item/4000970761777.html                                              https://www.aliexpress.com/store/4428203
 11   CCCMart Store                                         https://www.aliexpress.com/item/4000529159208.html                                              https://www.aliexpress.com/store/3088085
 12   Characteristic Life Store                             https://www.aliexpress.com/item/1005001408052988.html                                           https://www.aliexpress.com/store/3198065
 13   CharlotteT's Store                                    https://www.aliexpress.com/item/1005001349866019.html                                           https://www.aliexpress.com/store/5055243
 14   City of Daily Necessities Store                       https://www.aliexpress.com/item/1005001345249043.html                                           https://www.aliexpress.com/store/5488075
 15   CO Tech Store                                         https://www.aliexpress.com/item/4000552533477.html                                              https://www.aliexpress.com/store/2609005
 16   Computer Office Oversea Store                         https://www.aliexpress.com/item/1005001407841762.html                                           https://www.aliexpress.com/store/4307019
 17   Convenient 666 Store                                  https://www.aliexpress.com/item/4001293834597.html                                              https://www.aliexpress.com/store/900238284
 18   Daily Comfort Living Store                            https://www.aliexpress.com/item/1005001290295399.html                                           https://www.aliexpress.com/store/5706050
 19   Dongguan Blue Shark Technology Co., Limited           https://www.alibaba.com/product‐detail/Removable‐Socket‐Shelf‐Deluxe‐8‐Port_62021319466.html    https://cnblueshark.en.alibaba.com/
 20   DropShipping To Whole World Store                     https://www.aliexpress.com/item/4000302327454.html                                              https://www.aliexpress.com/store/5050196
 21   Dry Houseware Store                                   https://www.aliexpress.com/item/4000969768820.html                                              https://www.aliexpress.com/store/4053052
 22   e2shopping Store                                      https://www.aliexpress.com/item/4001039403350.html                                              https://www.aliexpress.com/store/1611023
 23   Embellish New Life Store                              https://www.aliexpress.com/item/4001039148582.html                                              https://www.aliexpress.com/store/5379055
 24   FANHHUI Store                                         https://www.aliexpress.com/item/4000194851570.html                                              https://www.aliexpress.com/store/4186017
 25   For good things Store                                 https://www.aliexpress.com/item/1005001405255346.html                                           https://www.aliexpress.com/store/910455057
 26   For Your B‐etter Life Store                           https://www.aliexpress.com/item/1005001484693057.html                                           https://www.aliexpress.com/store/2965056
 27   ForeWan DiyCraft Store                                https://www.aliexpress.com/item/4000395805767.html                                              https://www.aliexpress.com/store/5046203
 28   Funny Gifts Store                                     https://www.aliexpress.com/item/4000370891338.html                                              https://www.aliexpress.com/store/1964242
 29   Gardon store Store                                    https://www.aliexpress.com/item/4001060990231.html                                              https://www.aliexpress.com/store/3363028
 30   Global 3C Tech Store                                  https://www.aliexpress.com/item/4000192436268.html                                              https://www.aliexpress.com/store/1982495
 31   Global Professional Tool Store                        https://www.aliexpress.com/item/4001028097947.html                                              https://www.aliexpress.com/store/5533005
 32   Good Lifestyle Store                                  https://www.aliexpress.com/item/4000370851856.html                                              https://www.aliexpress.com/store/2496049
 33   Hangzhou Jukings Tech Co., LTD.                       https://www.alibaba.com/product‐detail/socket‐shelf‐8‐port‐surge‐protector_1700001932161.html   https://jukings.en.alibaba.com/
 34   High Grade 3CMart Store                               https://www.aliexpress.com/item/4000994910990.html                                              https://www.aliexpress.com/store/5438052
 35   HomeService Store                                     https://www.aliexpress.com/item/4000401850363.html                                              https://www.aliexpress.com/store/4503074
 36   HOMO dropship Store                                   https://www.aliexpress.com/item/4000153726209.html                                              https://www.aliexpress.com/store/5008322
 37   House Goodhand Store                                  https://www.aliexpress.com/item/4000381610343.html                                              https://www.aliexpress.com/store/5398047
 38   HouseholdTools groceries Store                        https://www.aliexpress.com/item/1005001474771656.html                                           https://www.aliexpress.com/store/5871250
 39   HUIYU Factory Store                                   https://www.aliexpress.com/item/4000243905820.html                                              https://www.aliexpress.com/store/1959954
 40   i found you Store                                     https://www.aliexpress.com/item/4001042512751.html                                              https://www.aliexpress.com/store/5247109
 41   Infinite Voice Store                                  https://www.aliexpress.com/item/4000828766577.html                                              https://www.aliexpress.com/store/5721050
 42   Instrument Tech Store                                 https://www.aliexpress.com/item/4000317985416.html                                              https://www.aliexpress.com/store/3095050
 43   JA jlakdfaliyun Store                                 https://www.aliexpress.com/item/4001057734679.html                                              https://www.aliexpress.com/store/5054215
 44   Jiande Hunlee Electrical Appliance Co., Ltd.          https://www.alibaba.com/product‐detail/6‐AC‐outlet‐wall‐mounted‐socket_62283247607.html         https://hlsocket.en.alibaba.com/
 45   kalaxhome Store                                       https://www.aliexpress.com/item/4001062134323.html                                              https://www.aliexpress.com/store/2978029
 46   K‐e‐y to your h‐e‐a‐r‐te Store                        https://www.aliexpress.com/item/1005001429845546.html                                           https://www.aliexpress.com/store/3081035
 47   La Favorita Flagship Store                            https://www.aliexpress.com/item/4000688825442.html                                              https://www.aliexpress.com/store/1819084
 48   LBFamily Store                                        https://www.aliexpress.com/item/4001041826633.html                                              https://www.aliexpress.com/store/4389049
 49   Linhai Zhongqi Opto‐Electrical Technology Co., Ltd.   https://www.alibaba.com/product‐detail/Switch‐Socket‐Rack‐Socket‐Shelf‐6_62350539103.html       https://lhzq.en.alibaba.com/
 50   Little expert Store                                   https://www.aliexpress.com/item/1005001419193674.html                                           https://www.aliexpress.com/store/910328058
 51   Lovelypuppy Store                                     https://www.aliexpress.com/item/4000688788813.html                                              https://www.aliexpress.com/store/3096039


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52   Luckly House Store                          https://www.aliexpress.com/item/4001038970845.html                                          https://www.aliexpress.com/store/5571159
53   LumiParty Factory Store                     https://www.aliexpress.com/item/4000761394743.html                                          https://www.aliexpress.com/store/2129113
54   LumiParty Official Store                    https://www.aliexpress.com/item/4000691074605.html                                          https://www.aliexpress.com/store/2179101
55   Magician 3c Store                           https://www.aliexpress.com/item/4000760903798.html                                          https://www.aliexpress.com/store/5035026
56   May Records Store                           https://www.aliexpress.com/item/4000437844567.html                                          https://www.aliexpress.com/store/1722239
57   Moonlight Dropshipping Store                https://www.aliexpress.com/item/4000833872609.html                                          https://www.aliexpress.com/store/1332825
58   MYRIANN Official Store                      https://www.aliexpress.com/item/4000234412264.html                                          https://www.aliexpress.com/store/3114051
59   No. 19 Mask Store                           https://www.aliexpress.com/item/4001069837622.html                                          https://www.aliexpress.com/store/5672005
60   OneTree Store                               https://www.aliexpress.com/item/1005001407745818.html                                       https://www.aliexpress.com/store/3220111
61   Professional Tool Center Store              https://www.aliexpress.com/item/4000270214863.html                                          https://www.aliexpress.com/store/3108066
62   Romantic All House Store                    https://www.aliexpress.com/item/4000271454741.html                                          https://www.aliexpress.com/store/5003134
63   Romantic full in Home                       https://www.aliexpress.com/item/4000196544519.html                                          https://www.aliexpress.com/store/1361474
64   Safe Life Store                             https://www.aliexpress.com/item/4000123749018.html                                          https://www.aliexpress.com/store/4047065
65   Security Protect Online Store               https://www.aliexpress.com/item/1005001407805763.html                                       https://www.aliexpress.com/store/3874080
66   Shanmammy dropship Store                    https://www.aliexpress.com/item/4000172726435.html                                          https://www.aliexpress.com/store/5071463
67   Shenzhen Clicks Technology Co., Ltd.        https://www.alibaba.com/product‐detail/Switch‐Socket‐Rack‐Socket‐Shelf‐6_62506226449.html   https://clicks.en.alibaba.com/
68   Shop1266133 Store                           https://www.aliexpress.com/item/4000395830684.html                                          https://www.aliexpress.com/store/1266133
69   Shop4917095 Store                           https://www.aliexpress.com/item/4001326224294.html                                          https://www.aliexpress.com/store/4917095
70   Shop5250048 Store                           https://www.aliexpress.com/item/4000318072976.html                                          https://www.aliexpress.com/store/5250048
71   Shop5440035 Store                           https://www.aliexpress.com/item/4000312323897.html                                          https://www.aliexpress.com/store/5440035
72   Shop5522046 Store                           https://www.aliexpress.com/item/4001111722735.html                                          https://www.aliexpress.com/store/5522046
73   Shop5788919 Store                           https://www.aliexpress.com/item/1005001376033866.html                                       https://www.aliexpress.com/store/5788919
74   Shop910453068 Store                         https://www.aliexpress.com/item/1005001405445222.html                                       https://www.aliexpress.com/store/910453068
75   Six Stars Products Store                    https://www.aliexpress.com/item/4000444804638.html                                          https://www.aliexpress.com/store/5033035
76   Smartlives Store                            https://www.aliexpress.com/item/1005001405333295.html                                       https://www.aliexpress.com/store/3626080
77   SNEWVIE LED Lighting Your Life Store        https://www.aliexpress.com/item/4001039247791.html                                          https://www.aliexpress.com/store/5131052
78   Surprise Life Store                         https://www.aliexpress.com/item/4000370001483.html                                          https://www.aliexpress.com/store/2675171
79   Swovo DIYCraft Store                        https://www.aliexpress.com/item/4000391560090.html                                          https://www.aliexpress.com/store/1292266
80   Szwky Households Store                      https://www.aliexpress.com/item/1005001452468252.html                                       https://www.aliexpress.com/store/900239417
81   Tools Direct Store                          https://www.aliexpress.com/item/4000275447806.html                                          https://www.aliexpress.com/store/4498046
82   Top1 Phone Store                            https://www.aliexpress.com/item/1005001407765744.html                                       https://www.aliexpress.com/store/3207066
83   Topleo Store                                https://www.aliexpress.com/item/4000371055064.html                                          https://www.aliexpress.com/store/4022009
84   trendy casual clothings Store               https://www.aliexpress.com/item/1005001377035040.html                                       https://www.aliexpress.com/store/5236011
85   TT Pink Life Store                          https://www.aliexpress.com/item/4000617723067.html                                          https://www.aliexpress.com/store/4501005
86   TTMart Store                                https://www.aliexpress.com/item/4000438924084.html                                          https://www.aliexpress.com/store/5014014
87   Welcome Oversea Store                       https://www.aliexpress.com/item/4000321498489.html                                          https://www.aliexpress.com/store/4760008
88   Worth Watching Store                        https://www.aliexpress.com/item/4000553331124.html                                          https://www.aliexpress.com/store/3263008
89   YIDIAN OF GRASS Store                       https://www.aliexpress.com/item/4000987669891.html                                          https://www.aliexpress.com/store/3684093
90   YOCOMYLY 511511 Store                       https://www.aliexpress.com/item/4000498866898.html                                          https://www.aliexpress.com/store/511511
91   Your Daily 3CMart Store                     https://www.aliexpress.com/item/4001261339485.html                                          https://www.aliexpress.com/store/5678012
92   Your Happiness House Store                  https://www.aliexpress.com/item/4001043017883.html                                          https://www.aliexpress.com/store/5486231
93   YOYOHOME Store                              https://www.aliexpress.com/item/4000269949875.html                                          https://www.aliexpress.com/store/5020075




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